Case 2:18-cv-00025-PLM-MV ECF No.1, PagelD.1 Filed 02/28/18 Page 1 of 21

_ UNTIED STATES DISTRICT courr ROCHE \NESTERN
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Z = February 28, 2018 19:10 AM
DANIEL Conk _ oo oe ie AG
. Plains _ —

aM Case Nie. 2:18 -ev-25

-—= Paul L. Malone ey, U.S. District Judge --
-H G Ns Timothy P. Greeley, Magistrate Judge

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. MICHIGAN DEPARTMENT OF CORRECTIONS

CSJ-110 4/90

4835-3110
PRISONER STATIONARY
TO: FROM:
NAME NAME
NO. AND STREET or R.R. NO. LOCK
CITY STATE ZIP INSTITUTION DATE

IN CORRESPONDENCE, USE NAME AND NUMBER ON YOUR LETTER AND ENVELOPE

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Z. The Plant? Daniel Cok pas incarcerated a+ Mitancle Branch
re Son, MHercolocth HBP). iN the Michiaan Derackuent o ot (orcectionS
enieocth MDAC) durind the events described ia thi, ComPlatnt

2]. Detendank Corizon 16 a Private Wiehi dan CorPocation which has

been, at all celevant Hies undera contract wrth the NW + Rovide
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iMcludinS Daniel Cook . Corizen to Sued jn ibe individual eaaitey.

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bY Coc\zen, He ta sued ia his individual aapacily.

B. Defendant oe wachrom ab all cckevant Limos w04 a aUcce eM(PloYe
bY Cortzon. te 14 Sued 10 bia ladividual Cavachy.

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T. Defendant Chackes Seat ot all relevant times was a YUM
erriovedh bY Crizon, tHe is exted ta be fadividual Capacity,

B. Delendant Harbaush, at all relevant fimes was a nurse emAovalhY
‘yond ttieems He/she iz sued in hislher radividida/ caractty,

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MICHIGAN DEPARTMENT OF CORRECTIONS 84.110 4/90
PRISONER STATIONARY
TO: FROM:
NAME NAME
NO. AND STREET or R.R. NO. LOCK
CITY STATE ZIP INSTITUTION DATE

IN CORRESPONDENCE, USE NAME AND NUMBER ON YOUR LETTER AND ENVELOPE

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then explained his other Rllowind symirres: Excheme burrina frown
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lease pbhrornal Stat, Juctorred uth bleed in rt, peallahe, Shakiness,
beeath smelled Like tesus, and Hat iL L/L ke a fava role tag
bucninS throuGh his Abdomen.

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tsith & Kon COC ng atdude.

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‘ MICHIGAN DEPARTMENT OF CORRECTIONS Coit a
PRISONER STATIONARY
TO: FROM:
NAME NAME
NO. AND STREET or R.R. NO. LOCK
CITY STATE ZIP INSTITUTION DATE

IN CORRESPONDENCE, USE NAME AND NUMBER ON YOUR LETTER AND ENVELOPE

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“Tntdernal Rleodhing Evrecgent

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that had snlid doops of blood fa i Dokendact teld Piantatt
te Puta health care request ia.

odo a eto vital check and
Sead ie tothe Hospital All te an avai) Oluesiaa walled
QUday.,

IZ. Plaintiff lerrthe sion ia hors, Seopromber |Z. mb Cb called tHe
doendant Cluestra stoting Aaidiffs condition was emergent

IS. Neac 2:00 am. Gluesiag resRavted Andence asain ‘gnocred the
antl!’ Pleas syu/PTOHS and appeals do 40-40 Hho hosp ¥al and
te dea full vital check uP Gluesin§ stated: "Zi, not Going fo
PUM Yok ot on Hhird ohitt

19, Deleatont checked Faint ts oxyeen a heact Leat with a Lroer
device. He thea cuted ‘+ awick!lY and would not shoeo tye
Plaintitf the cesuls. WWalakeds “Puboleathoare kite tn"

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: MICHIGAN DEPARTMENT OF CORRECTIONS

CSJ-110 4/90

4835-3110
PRISONER STATIONARY
TO: FROM:
NAME NAME
NO. AND STREET or R.R. NO. LOCK
CITY STATE ZIP INSTITUTION DATE

IN CORRESPONDENCE, USE NAME AND NUMBER ON YOUR LETTER AND ENVELOPE

Z0._Plaioh f aoue Coluesiad a Lllec out health care ceauest caith a
detailed lat of his symprous, Apol contiqued to e9 to he sent
to dhe hospital and +o have his vitals checked. zhe defeadent
iQnocted bis beating and walled acuay

Z\. ~the Plaintitt layed hunched over ta Pain until he was Pulled
from Col\ ducing am shift Loc emeraency bload deaus,

ZZ. SeptTembec 1S, Zold, Falk NP iofocmod Praiat Hf tat his SEb
Rate was 3. And thet i+ wos due Jo inflawcdion, Mot te worr¥
thouah because he has ceen thew ‘a JAo 70's. He fan intermeol

eae that he had ulcers. Ard Hat “Pohrx' "wl Sake Care
of it.

ZZ WiS/16 Folk Haced Aaictift on Protonix.

ZY. Sepfeuber ZO, 2010 Y¥-Ray cf Paint (YY abdouen revealed
<evece ConatiPotion and soveral Pilebolth3 wrdpin hrs Rlvis ACO.

he Plaiatif€ contiauad te c

| ComMPlication. hod of the cuecall Paina in his entice Abdowuet.
‘dle Collowed health Man and trusted nucces adv ire to Give
the Protonix a chance +e swork.

Zo. On oc near Serbembec 23,2016 Deferdant Wietronr told Dain ttt
something was wrong with his Gall Nadler antl Stemtath. And

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asinine

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‘ MICHIGAN DEPARTMENT OF CORRECTIONS 8-110 4/0
PRISONER STATIONARY

TO:

FROM:
NAME

NAME

NO. AND STREET or R.R.

NO. LOCK

CITY STATE ZIP

INSTITUTION DATE

IN CORRESPONDENCE, USE NAME AND NUMBER ON YOUR LETTER AND ENVELOPE

than later on at some Point ducias nuraind counds thet She Plaatih
had one big Ulcer ia his duodenum.

27. Platotif?’ continued 4 complain cf Liver and kedney Pacn Also.

28. December 2, 20l6 lWivtrow charted a false rececd statiag thad
the Hedication was having “ood gesults* 4 Protenix) And

Aid act chat anything about the Ulcers he Continued to teil
‘Aaiati bP he hod.

ZL. Decoulber O, ZO Plaictiff submitted Lest of manV Ici evantH

Statins he has been denied diagnosis and treatment. Deseeibed
CYUPTCMS Qnd Tequecrak Pain Meds

AO. Decenlber /5 ZOle Orv evance was denied. Decenber Jbfr tye
Dlatoti tl was Placed on Pain ted oatior?.. Ultra.

Al Febcuacy 1S, 2017 abtec copeated kites and Grievances AN v-aY
revenled Congsipatian and Foleo! ths at also shawed carly
acthrebie chandes of She Wilatecal Whip Joint

42. February ZZ, Zol7 Delendant Harbaush denied Fluntit? 4 srievance
fetina: Grievant did net Present fe healticare for his scheduled
assessments with provider oc subrutt any healfhmre reauves?s

from Ockeber L, ZO 4 November 2b. ZO. Lberievands allegatiox
not suppocted anil his needs ace being addressed uthen identitied

~G@-

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‘MICHIGAN DEPARTMENT OF CORRECTIONS csu-110 as0
PRISONER STATIONARY

TO: FROM:

NAME NAME

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CITY STATE ZIP INSTITUTION DATE

IN CORRESPONDENCE, USE NAME AND NUMBER ON YOUR LETTER AND ENVELOPE

by the Grievant And 83 [IT intentionally delays 7, Step It go ieda Gers.

BS. Plaiatif! Qhed o Grievance due fe the false cemects that he has
reluseck rails | pppoiateients, (See atachmedts- Exausted ronedies )

Bu. March Z2, 207 Y-RAY Shouwsed consti Pahicn and Severa/
Phleboliths within Plainift. Pelvis Area,

ZS. Yai id, 2017 y-ray reveals consti Pation throughout the
Plains eatice coacse cf lon,

AD Avil 13. ZI7 Defendant Rapentick denied Falk NP ceauest ,
Lor Clonoscery, Medical necessitY notolemonatrated at thys
Hue. Caenside co RMUC seana B.G tuo talog +ur.ce daily and
rercicd ak cecoch if Polieat cehuses,

37, May 1.72017 Decker Benefeld conducts a Sham Physiaal exant
and tella Plaintiff to no longer Place healthoare requesis in.

Ho thenchacts a Sand bill oP health fanorriniG Syupreacs .
28. ClO Mi athorn tell. Phat L# Je“euit Picking" atte- Zonelelds exar.

ZY May 2, 2017 X-Ray Shows consti Pabat ober riulhele aloses
of laxifives,

40. Moy ¥ 2017 MloinlttS Heed labs peseal 4u/biP/e pbgpecathmes,

Abnocmalties
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‘MICHIGAN DEPARTMENT OF CORRECTIONS

CSJ-110 4/90

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PRISONER STATIONARY
TO: FROM:
NAME NAME
NO. AND STREET or R.R. NO. LOCK
CITY STATE ZIP INSTITUTION

DATE

IN CORRESPONDENCE, USE NAME AND NUMBER ON YOUR LETTER AND ENVELOPE

Ul, Do May b, 201 after weeks of pain, The Paintitt Kites Dentist
fora Bk? dime do to dbsese dekh toothy,

U2. Fl0/12017 P MC Medication denied {dr Plait lls Ahdonren
Laid.

UZ May 24.2017 Defadent Rrnendick denies Falk NUP. reauest Loc

a OT~scad. “Medical necesstty ackdenonstrated at this trime0e. Ke
evaluate absouen atter const: patio? (so resolved.”

44 Dune 0. ZOI7 Defendant Prendick clenied Zalle LP. reauest foc
Q. Ultra Sound. “Yedi'cal peceasitY not demenstrated at boys Lae.
Lducate Patient Hhat waterY stor/s Hay be necessacy in order
to Cheac the consti Paticn.

US Oune 27. 20/7. vay ceveals obstitation.. Geveké ovistizaticon
After Muh phe abses of layitives and Sena .

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G, Dune Zi. COT Plaintiff ceceiVes ceoqustted healt) cuce cecacds
Gnd is ahocked that neaclY everV PaGEe contains lies.

U7 Out \2,. 7017 Plain? qubmitls Grievance acieving all the
lice anh facensisteacieS iwithin his cecorda. DePuty Leepev

Moxandec donied Daiatifls acievance stating: “SuPij cote
Uk Aber review of lob reaulla an $1ISI/G Ahind/M sees Sed

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‘MICHIGAN DEPARTMENT OF CORRECTIONS 084.110 4/00
PRISONER STATIONARY
TO: FROM:
NAME NAME
NO. AND STREET or R.R. NO. LOCK
CITY STATE ZIP INSTITUTION DATE

IN CORRESPONDENCE, USE NAME AND NUMBER ON YOUR LETTER AND ENVELOPE

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tenes co 45) 2016

UY. Plaats \abs appeared to have been alteccedl. Medical profess ion -
as have a Conticmed tt fa clinically, and Medically iiss: ble
abe j Poutitfs many
phate te \2IZO/IG a Sep cate of 0, J/3///7 a Sep
rote of 0, SIW/7 a sep gate of 1, 8/3//72 a seb cate of
Ov and [0/23//7 a seb rate of QO.

BO. Plaintitt was iqkeroted by nursing this was Common by
DeCertant Orizvan +e aveid Poiana Medicabion and costly
exon inattong ac Proceed uces . "THs how ingucance wacks”™

Si. Nuoust |, 2077 Paintilt was approved Se Medicaid due to
Cacenic Conditean. Corizon has act ideas i fi ed Condition .

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Cre, SOT tumed Machine acound and recorded high numbers,

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‘MICHIGAN DEPARTMENT OF CORRECTIONS csy-110 4/90
PRISONER STATIONARY

TO: FROM:

NAME NAME

NO. AND STREET or R.R. NO. LOCK

CITY STATE ZIP INSTITUTION DATE

IN CORRESPONDENCE, USE NAME AND NUMBER ON YOUR LETTER AND ENVELOPE

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Poin uth cndceins Aaumrtonss ,

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Medical neces it not deuoarstrated ,

SG. Novembec 7, ZO Y¥-Ray Revealed Plainhkt? sill had/ha>
constipation, After ultiple doses of Jax ¥ives .

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anc {Os request Lc vital check. ZeSused fe send hin to
She hospital. Nad iaonccedh Shot Plaintiff. syurtous had
Antton Luorse Quer the coeckend.

=B wanuacy Il, ZOIS v~@ayY ceveala constipation aflec Mult Fle
doses of Joxitives,

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allies, Plointit explained he does not have 9405 or a gage
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wnrarke Once QAKW this Was & Sham exanM i dation te aquord
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4835-3110
PRISONER STATIONARY
TO: FROM:
NAME NAME
NO. AND STREET or R.R. NO. LOCK
CITY STATE ZIP INSTITUTION DATE

IN CORRESPONDENCE, USE NAME AND NUMBER ON YOUR LETTER AND ENVELOPE

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(5. Plaintitf's bleed labs hove Proncessivaly crenata extreme hike to
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AST @e0OT) 72 ule Z0ule GB ule 1S-4D
Wot (GPT) ZV UIL dgu/c eS ule 7-30
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Chea HDL UW) Mb 36 AG SY MG UO- GO
ULDL ZA Ab Ui WG 45 MG O-4O
LDH (ZZ ule [58 uc 62. Ul 100-2
Tot COZ, 6S wmol/e SlwwVe Sl molly  Ze-SA.

_ Gee exhiois)
G4. The Pantills EFOR i6 over CD which represents Stage |
ac Z \kidney disease.

6 CPT, AST, YET, and Teiatycerides all represent something
iS Secicus/¥ wend With Parvati tls “tivec, and Kidney S$

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MICHIGAN DEPARTMENT OF CORRECTIONS CSJ-110 4/90

4835-3110
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TO: FROM:
NAME NAME
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CITY STATE ZIP INSTITUTION DATE

IN CORRESPONDENCE, USE NAME AND NUMBER ON YOUR LETTER AND ENVELOPE

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aad Cention. Srokt cunlked dummy blaming Cocizen.

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PRISONER STATIONARY
TO: FROM:
NAME NAME
NO. AND STREET or R.R. NO. LOCK
CITY STATE ZIP INSTITUTION DATE

IN CORRESPONDENCE, USE NAME AND NUMBER ON YOUR LETTER AND ENVELOPE

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+n the Plainhiils. condition, .cyayt0ms, Vital sions ——
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if nok ourriant denvind Emecsent access to tre hospital
iphen Such Cote is OxePensiios ComPlicates Security, ac

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Seok Plainkt? 4c hospital oc adequate oxamtiaation.

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‘MICHIGAN DEPARTMENT OF CORRECTIONS 84.110 400
PRISONER STATIONARY

TO: FROM:

NAME NAME

NO. AND STREET or R.R. NO. LOCK

CITY STATE ZIP INSTITUTION DATE

IN CORRESPONDENCE, USE NAME AND NUMBER ON YOUR LETTER AND ENVELOPE

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IN CORRESPONDENCE, USE NAME AND NUMBER ON YOUR LETTER AND ENVELOPE

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NAME NAME
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CITY STATE ZIP INSTITUTION DATE

IN CORRESPONDENCE, USE NAME AND NUMBER ON YOUR LETTER AND ENVELOPE

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MICHIGAN DEPARTMENT OF CORRECTIONS CSJ-110 4/90

4835-3110
PRISONER STATIONARY \
TO: FROM:
NAME NAME
NO. AND STREET or RR. NO. LOCK
CITY STATE ZIP INSTITUTION DATE

IN CORRESPONDENCE, USE NAME AND NUMBER ON YOUR LETTER AND ENVELOPE

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